 8:14-cr-00051-JMG-TDT             Doc # 28   Filed: 03/27/14    Page 1 of 1 - Page ID # 54




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA
UNITED STATES OF AMERICA,                      )
                                               )                  8:14CR51
                      Plaintiff,               )
                                               )
       vs.                                     )                   ORDER
                                               )
ADAN ZUNIGA-PEREZ,                             )
                                               )
                      Defendant.               )
       This matter is before the court on the motion for an extension of time by defendant Adan
Zuniga-Perez (Zuniga-Perez) (Filing No. 26). Zuniga-Perez seeks an additional thirty (30) days
in which to file pretrial motions in accordance with the progression order. Zuniga-Perez has
filed an affidavit wherein he consents to the motion and acknowledges he understands the
additional time may be excludable time for the purposes of the Speedy Trial Act (Filing No. 27).
Counsel for Zuniga-Perez represents that government's counsel has no objection to the motion.
Upon consideration, the motion will be granted.


       IT IS ORDERED:
       Defendant Zuniga-Perez's motion for an extension of time (Filing No. 26) is granted.
Zuniga-Perez is given until on or before April 28, 2014, in which to file pretrial motions
pursuant to the progression order. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motions, i.e., the time between March
27, 2014, and April 28, 2014, shall be deemed excludable time in any computation of time
under the requirement of the Speedy Trial Act for the reason defendant's counsel requires
additional time to adequately prepare the case, taking into consideration due diligence of
counsel, and the novelty and complexity of this case. The failure to grant additional time might
result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 27th day of March, 2014.
                                                   BY THE COURT:
                                                   s/ Thomas D. Thalken
                                                   United States Magistrate Judge
